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            EXHIBIT # 10
 Case 1:24-cv-03880-LDH-LKE Document 8-11 Filed 06/19/24 Page 2 of 2 PageID #: 286


  From: Tyrone Blackburn tblackburn@tablackburnlaw.com
Subject: Re: New Serve - TBLACKBURN@TABLACKBURNLAW.COM
   Date: May 1, 2024 at 7:55 PM
     To: We Serve Law LLC info@weservelaw.com

      Following up. Please provide the affidavit of service

      Regards,

      Tyrone A. Blackburn, Esq.
      T. A. Blackburn Law, PLLC.
      Phone: 347-342-7432
      TABlackburnlaw.com

        On Apr 5, 2024, at 9:59 PM, We Serve Law LLC <info@weservelaw.com> wrote:

        Hello Tyrone,

        We are in receipt of the documents, 217 pages to be served on:

        UNITED PARCEL SERVICE GENERAL SERVICES CO.
        C/O CORPORATION SERVICE COMPANY
        80 STATE STREET
        ALBANY, NY 12207

        Here is a link to the invoice: https://www.paypal.com/invoice/p/#92WP7XHWH6E5424D
        As soon as it's paid we will dispatch for prompt service.

        We will update you upon completion of service and a copy of the notarized affidavit of service will be emailed and the original mailed
        to you.

        Any questions, please do not hesitate to ask.

        Thank you,

                                   We Serve Law LLC
                                   Nationwide Legal Services
                                  p: 800-637-1805
                                  w: weservelaw.com
                                  e: info@weservelaw.com


        On Fri, Apr 5, 2024 at 9:53 PM TBLACKBURN <noreply@123formbuilder.com> wrote:
            Name                                          TYRONE ANTHONY BLACKBURN
            Email                                         TBLACKBURN@TABLACKBURNLAW.COM

            Service                                       Priority $100
            Name and Address of Person or                 UNITED PARCEL SERVICE GENERAL SERVICES CO.
            Entity to be Served                           C/O CORPORATION SERVICE COMPANY
                                                          80 STATE STREET
                                                          ALBANY, NY, 12207

            Special Instructions
            File Upload                                   https://app.123formbuilder.com/upload_dld.php?
                                                          fileid=d075f8c9975008d277bc73fde1ced2d0

          The message has been sent from 70.15.18.89 (United States) at 2024-04-05 21:53:04 on Chrome 123.0.0.0
          Entry ID: 15144
        <Filed Case. 503173_2024_ROY_WELSH_v_UNITED_PARCELS_SERVICE_INC_et_al_SUMMONS___COMPLAINT_1.pdf>
        <Daniel Moyel-502752_2024_DANIEL_MOYLE_v_UNITED_PARCELS_SERVICE_INC_SUMMONS___COMPLAINT_1.pdf><Filed
        Complaint-509532_2024_TRAVIS_STEELE_v_UNITED_PARCELS_SERVICE_INC__SUMMONS___COMPLAINT_1.pdf><Fari
        Murray-502791_2024_FARI_MURRAY_v_UNITED_PARCELS_SERVICE_INC_et_al_SUMMONS___COMPLAINT_1.pdf><Daniel
        Moyel-503187_2024_DANIEL_MOYLE_et_al_v_DANIEL_MOYLE_et_al_SUMMONS___COMPLAINT_1.pdf>
